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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


In re                                                     Chapter 11
                                                          Bankr. Case No. 16-10386 (CSS)
PARAGON OFFSHORE PLC,

                     Debtor.                              Adv. Proc. No. 17-51882 (CSS)

NOBLE CORPORATION PLC, NOBLE
CORPORATION HOLDINGS LTD., NOBLE
CORPORATION, NOBLE HOLDING
INTERNATIONAL (LUXEMBOURG) S.à r.l.,
                                                          C.A. No. 18-cv-1277 (CFC)
NOBLE HOLDING INTERNATIONAL
(LUXEMBOURG NHIL) S.à r.l., NOBLE FDR                     BAP No. 18-43
HOLDINGS LIMITED, MICHAEL A. CAWLEY,
JULIE H. EDWARDS, GORDON T. HALL, JON A.                  C.A. No. 18-cv-1345 (CFC)
MARSHALL, JAMES A. MACLENNAN, MARY P.
RICCIARDELLO, JULIE J. ROBERTSON, and                     BAP No. 18-45
DAVID WILLIAMS,

                     Appellants-Cross-Appellees,

        v.

PARAGON LITIGATION TRUST,

                     Appellee-Cross-Appellants.

              STIPULATION AND PROPOSED ORDER ESTABLISHING
                BRIEFING SCHEDULE FOR BANKRUPTCY APPEAL

              Pursuant to the Court's Standing Order dated September 11, 2012 (the "Standing

Order"), and based upon the recommendation of Magistrate Judge Thynge that this matter will be

withdrawn from the mandatory referral for mediation, Noble Corporation plc, Noble Corporation

Holdings Ltd., Noble Corporation, Noble Holding International (Luxembourg) S.à r.l., Noble

Holding International (Luxembourg NHIL) S.à r.l., Noble FDR Holdings Limited, Michael A.

Cawley, Julie H. Edwards, Gordon T. Hall, Jon A. Marshall, James A. MacLennan, Mary P.
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Ricciardello, Julie J. Robertson, and David Williams (the "Appellants-Cross-Appellees"), and the

Paragon Litigation Trust (the "Appellee-Cross-Appellant"), by and through their undersigned

counsel, hereby stipulate and agree, subject to the Court's approval, to the following briefing

schedule:

             Appellants-Cross-Appellees' brief in support of the Appeal is due on or before
              September 14, 2018.

             Appellee-Cross-Appellant's combined brief in opposition to the Appeal and brief in
              support of the Cross-Appeal is due on or before October 10, 2018.

             Appellants-Cross-Appellees' combined reply brief in support of the Appeal and
              answering brief in opposition to the Cross-Appeal is due on or before October 24,
              2018.

             Appellee-Cross-Appellant's reply brief in support of the Cross-Appeal is due on or
              before November 5, 2018.

Dated: September 17, 2018
       Wilmington, Delaware

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                                                Counsel for Appellee-Cross-Appellant



SO ORDERED this ____ day of September, 2018


                                            ____________________________________
                                            THE HONORABLE COLM F. CONNOLLY
                                            UNITED STATES DISTRICT COURT JUDGE




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